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BARRON & NEWBURGER, P.C.

Mcmue| H. Newburger‘
Direcl Dic|: (512) 649-4022 | mnewburger@bn-lawyers.com

"Board Certified in Consumer and Commercial
Law by the Texas Board ofLegal Specialization
Licensed in Texas and Colorado

April 18, 2018

Hon. Ken PaXton

Attorney General of the State of TeXas
PO Box 12548

Austin, TX 7871 1-2548

Re: James Heironimus, on behalf of himself and all others similarly situated v.
Caz)alry Portfolio Services, LLC, and Rausch, Sturm, Israel, Enerson & Homik,
LLC,' Case No. 4:17-cv-00121 in the United States District Court for the
Southern District of Texas, Houston Division

Dear General Paxton:
Enclosed please find a CD containing the documents and information required by
28 U.S.C. § 1715. One of the files on the CD contains the names of the class
members. TeXas class members Will receive 100% of the settlement In order to
protect the privacy of consumers We have passvvord-protected the file. Please
contact me at the direct dial number above if you want the password. The remaining
files are all a matter of public record, and they are not password-protected.
Thank you for your attention to this matter.

Yours truly,

BARRON &, NEWBURGER, P.C.

///W/Z/%>

l\/lanuel H. Nevvburger

MHN/n

Phone: (512) 476-9103 | Fax: (512) 279-0310 | 7320 N. MoPac Expy., Suite 400 l Austin, TX78731| bH-laWyCI‘S.COm

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